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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                      8:13CR43
       vs.                                 )
                                           )                       ORDER
EDUARDO VALENZUELA-NUNEZ,                  )
                                           )
                                           )
                     Defendant.


       This matter is before the court on defendant's APPLICATION FOR ENLARGEMENT
OF TIME TO FILE PRETRIAL MOTIONS [13]. For good cause shown, I find that the motion
should be granted. The defendant will be given an approximate 32-day extension.
Pretrial Motions shall be filed by April 29, 2013.

       IT IS ORDERED:

      1.  Defendant's APPLICATION FOR ENLARGEMENT OF TIME TO FILE
PRETRIAL MOTIONS [13] is granted. Pretrial motions shall be filed on or before April 29,
2013.

       2.     The defendant is ordered to file a waiver of speedy trial as soon as
              practicable.

        3.      The ends of justice have been served by granting such motion and outweigh
the interests of the public and the defendant in a speedy trial. The additional time arising
as a result of the granting of the motion, i.e., the time between March 28, 2013 and April
29, 2013, shall be deemed excludable time in any computation of time under the
requirement of the Speedy Trial Act for the reason defendant's counsel required additional
time to adequately prepare the case, taking into consideration due diligence of counsel, and
the novelty and complexity of this case. The failure to grant additional time might result in
a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) & (B).


       DATED this 28th day of March, 2013.

                                          BY THE COURT:


                                          s/ F.A. Gossett
                                          United States Magistrate Judge
